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                                                                                 November 11, 2020

VIA ECF and Electronic Mail

Hon. Victor Marrero
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                                      Re:      United States v. Randy Torres, et. al.
                                                     16 CR 809 (VM)


Dear Judge Marrero,

As the Court is aware, Mr. Schmidt and I represent Mr. Torres in the above referenced matter. Mr. Torres and his trial co-
defendants, Mr. Walston Owen and Mr. Charles Ventura, are scheduled to be sentenced on December 11, 2020. On behalf
of all defense counsel and with the consent of all three defendants, we request that the Court adjourn the defendants’
sentencing to sometime in March of 2021.

The nature of the convictions requires an in-person sentencing hearing. However, the individual circumstances of many of
the defense counsel are such that they cannot appear in person due to Covid-19 related health concerns and risk factors. We
have discussed these circumstances with the Government, and it does not object to this request. The Government would like
the sentencing to proceed at the earliest possible date, which for a multitude of reasons for the defense counsel is March of
2021.

If the Court has any questions, please do not hesitate to contact my office.

Thank you.

                                                                                 Respectfully submitted,
      The request is granted. The sentencing
      scheduled for December 11, 2020 is
      adjourned until March 19, 2021 at 2:00                                     ______________________________
      p.m.                                                                       Andrew M. J. Bernstein, Esq.
                                                                                 Partner
                                                                                 SICHENZIA ROSS FERENCE LLP
      11/12/2020
                                                                                 Sam A. Schmidt, Esq.
                                                                                 THE LAW OFFICE OF SAM A. SCHMIDT


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